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 3 Telephone: (916) 447-9299
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 4
     Attorney for Defendant
 5 HODA SAMUEL
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 7
 8
                         IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12
13 UNITED STATES OF AMERICA,       )               No. 2:10-cr-0223-JAM
                                   )
14                Plaintiff,       )               STIPULATION AND ORDER TO
                                   )               CONTINUE
15      v.                         )               RESTITUTION HEARING
                                   )
16 HODA SAMUEL,                    )
                                   )               Date: October 29, 2013
17                Defendant.       )               Time: 9:45 a.m.
   _______________________________ )               Hon. John A. Mendez
18
19
20            Defendant Hoda Samuel, through her attorney John Balazs, and the United
21 States, through its attorney Philip A. Ferrari, stipulate and request that the
22 restitution hearing be continued from October 15, 2013 to October 29, 2013, at
23 9:45 a.m.
24            The reason for this request is that Ms. Samuel’s attorney needs additional
25 time to prepare for the restitution hearing.
26 // // //
27 // // //
28 // // //
       Case 2:10-cr-00223-JAM-KJN Document 480 Filed 10/01/13 Page 2 of 2


 1                                         Respectfully submitted,
 2
 3
 4 DATED: September 30, 2013               /s/ John Balazs
                                           JOHN BALAZS
 5
                                           Attorney for Defendant
 6                                         HODA SAMUEL
 7
 8 DATED: September 30, 2013               BENJAMIN B. WAGNER
                                           United States Attorney
 9
10                                   By:   /s/ Philip A. Ferrari
                                           PHILIP A. FERRARI
11                                         Assistant U.S. Attorney
12
13
                                   ORDER
14
        IT IS SO ORDERED.
15
16 DATE: 10/1/2013
                                           /s/ John A. Mendez
17                                         HON. JOHN A. MENDEZ
                                           U.S. District Court Judge
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